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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
DC TEACHERS’ FEDERAL CREDIT                 )
UNION,                                      )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )       Civil Action No. 19-cv-01126 (JEB)
                                            )
JSF 2nd STREET NE CMPI, LLC, and            )
JSF MANAGEMENT, LLC                         )
                                            )
              Third-Party Plaintiffs,       )
                                            )
v.                                          )
                                            )
BOHLER ENGINEERING VA, PLLC                 )
                                            )
              Third-Party Defendant         )

       BOHLER ENGINEERING VA, PLLC’S ANSWER AND COUNTERCLAIM

       Third-Party Defendant Bohler Engineering VA, PLLC (“Bohler”), by counsel, states as

follows for its Answer and Counterclaim to the Third-Party Complaint (ECF 21):

                                            Answer

       1.     Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       2.     Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       3.     Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       4.     Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

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       5.       Denied. Third-party plaintiffs appear to have alleged the corporate information of

a nonparty, Bohler Engineering NC, PLLC. If third-party plaintiffs intended to name Bohler

Engineering VA, LLC (not PLLC) as a party, then Bohler admits that it is a Virginia limited

liability company, but Bohler avers that its principal place of business is in Herndon, Virginia.

Bohler avers that “Bohler DC, LLC” is the Bohler entity that provided civil engineering design

services for the Project, and Bohler’s Answer responds to the Third-Party Complaint as if the

allegations had been asserted against Bohler DC, LLC.

       6.       Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       7.       Bohler does not challenge subject matter jurisdiction at this time.

       8.       Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       9.       Admitted. Bohler avers that the Contract also included subsequent addenda.

       10.      Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       11.      Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       12.      Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

       13.      The Contract speaks for itself, and Bohler denies any allegations inconsistent with

the Contract.

       14.      Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.



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          15.   Denied. Bohler avers that its obligations to JSF 2nd Street, including its

professional standard of care, were contract terms governed by the Contract, which speaks for

itself.

          16.   The First Amended Complaint speaks for itself, and Bohler denies any summary

of Plaintiff’s allegations that is inconsistent with the First Amended Complaint.

          17.   Admitted.

          18.   The First Amended Complaint speaks for itself, and Bohler denies any summary

of Plaintiff’s allegations that is inconsistent with the First Amended Complaint.

          19.   Bohler admits that it provided some civil engineering services for the Project.

Bohler lacks information sufficient to admit or deny the remaining allegations, and Bohler

therefore denies them and demands strict proof thereof.

          20.   Bohler lacks information sufficient to admit or deny these allegations, and Bohler

therefore denies them and demands strict proof thereof.

          21.   This paragraph alleges legal conclusions to which no response is required, and

Bohler denies that it is liable or has caused harm to any party in this action.

          22.   This paragraph alleges legal conclusions to which no response is required, and

Bohler denies that it is liable or has caused harm to any party in this action.

                                       First Cause of Action

          23.   Bohler incorporates its responses to paragraphs 1-22 by reference as if stated here.

          24.   The Contract speaks for itself, and Bohler denies any allegations inconsistent with

the Contract.

          25.   Plaintiff’s allegations are stated in the First Amended Complaint, and Bohler

denies any summary of those allegations that is inconsistent with the First Amended Complaint.



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       26.      The Contract speaks for itself, and Bohler denies any allegations inconsistent with

the Contract. Bohler denies any “negligent acts or omissions” in its services.

       27.      Denied.

       28.      Denied.

                                      Second Cause of Action

       29.      Bohler incorporates its responses to paragraphs 1-28 by reference as if stated here.

       30.      The Contract speaks for itself, and Bohler denies any allegations inconsistent with

the Contract.

       31.      Denied.

       32.      Bohler’s duties to JSF 2nd Street are defined by the Contract. Bohler denies the

remaining allegations, including any allegations inconsistent with the Contract.

       33.      Denied.

                                      Third Cause of Action

       34.      Bohler incorporates its responses to paragraphs 1-33 by reference as if stated here.

       35.      Bohler lacks information sufficient to admit or deny these allegations.

       36.      Plaintiff’s allegations are stated in the First Amended Complaint, and Bohler

denies any summary of those allegations that is inconsistent with the First Amended Complaint.

       37.      Bohler lacks information sufficient to admit or deny these allegations.

                                      Fourth Cause of Action

       38.      Bohler incorporates its responses to paragraphs 1-37 by reference as if stated here.

       39.      Bohler lacks information sufficient to admit or deny these allegations.

       40.      Bohler lacks information sufficient to admit or deny these allegations.

       41.      Bohler lacks information sufficient to admit or deny these allegations.



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                                       Fifth Cause of Action

       42.     Bohler incorporates its responses to paragraphs 1-41 by reference as if stated here.

       43.     Denied.

       44.     Denied.

       45.     Denied.

                                       Sixth Cause of Action

       46.     Bohler incorporates its responses to paragraphs 1-45 by reference as if stated here.

       47.     Bohler lacks information sufficient to admit or deny these allegations.

       48.     Bohler lacks information sufficient to admit or deny these allegations.

       49.     Bohler lacks information sufficient to admit or deny these allegations.



                                       Affirmative Defenses

       50.     The Fifth Cause of Action failed to state a claim upon which relief can be granted,

as stated in Bohler’s Motion to Dismiss.

       51.     Bohler reserves the right to amend and state additional affirmative defenses that

are supported by discovery in this litigation.



                                           Counterclaim

       52.     Bohler incorporates by reference the preceding paragraphs 1-51.

       53.     This Counterclaim arises out of the same transaction that is the subject matter of

the Third-Party Complaint.

       54.     The Third-Party Complaint invoked Bohler’s Contract, which is attached to this

Counterclaim as Exhibit A.



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       55.     The indemnification term of the Contract, which was referenced by paragraph 30

of the Third-Party Complaint, requires JSF 2nd Street NE CMPI, LLC to indemnify and hold

harmless Bohler as follows:

       a.      “To the fullest exten[t] permitted by law, [JSF 2nd Street] agrees to indemnify

               and hold harmless [Bohler], including its owners, officers, directors, partners,

               members, affiliates and employees, from and against costs, losses, injuries and

               damages (including but not limited to reasonable fees and charges or engineers,

               attorneys, and other professionals, and reasonable court or arbitration or other

               dispute resolution costs, including attorneys’ fees) caused solely by the negligent

               acts or omissions of [JSF 2nd Street] or [JSF 2nd Street’s] officers, directors,

               partners, employees, and consultants in the performance of the Contract.”

       56.     To the extent JSF 2nd Street or any of its officers, directors, partners, employees,

or consultants (such as PBA) are found to have caused the damages at issue in this litigation,

Bohler is entitled to be indemnified and held harmless by JSF 2nd Street.

       57.     The Contract also included an attorneys’ fees provision, stating:

       a.      “The prevailing party in arbitration or litigation shall be entitled to recover its

               expenses of arbitration or litigation, including reasonable attorneys’ fees,

               reasonable compensation for staff time, costs, and other claim-related expenses, in

               addition to all other damages, if any, which may be awarded to the prevailing

               party. As used herein, the ‘prevailing party’ may be the party prosecuting claims

               or defending claims (or both) arising out of or relating to the Contract or the

               breach thereof.”




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       58.     If Bohler prevails in its defense of JSF 2nd Street’s Third-Party Complaint,

Bohler is entitled to recover from JSF 2nd Street its claim-related expenses, including but not

limited to the attorneys’ fees and costs incurred in its defense.



                                           Jury Demand

       59.     Bohler demands a trial by jury for all issues so triable.



       WHEREFORE, for the foregoing reasons, Bohler respectfully requests that Court enter

judgment in Bohler’s favor, and that the Court award Bohler all of its claim-related expenses

(including attorneys’ fees and costs) and grant Bohler any other relief it deems appropriate.


                                               Respectfully submitted,


                                               BOHLER ENGINEERING VA, PLLC



                                               By:___/s/ Stephan F. Andrews_________________
                                                             Counsel


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J. Brandon Sieg (DC Bar 208832) (D.D.C. application pending)
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 8th day of July, 2019, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following counsel of record:

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                                                /s/ Stephan F. Andrews



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